Case 2:15-cv-00079-LGW-BWC Document 207 Filed 09/19/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

STATE OF GEORGIA, et al.,
2:15-cv-79

Vv.

ANDREW WHEELER, et al.,

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ORDER

The United States Court of Appeals for the Eleventh Circuit has dismissed

Appellants NATIONAL WILDLIFE FEDERATION and ONE HUNDRED MILES’

appeal;
IT IS HEREBY ORDERED that the Order of the Eleventh Circuit, U.S. Court of

Appeals, is made the order of this Court.

SO ORDERED this | \ day of , 2018.

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HON. LISAAGODBEY WOOD, JUDGE
ITED STATES DISTRICT COURT
DISTRICT OF GEORGIA

  
